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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

JOSEPH GRIMANDO,

                       Plaintiff,

       vs.                                           No. 21-CV-00108 JHR/KK

UNITED STATES OF AMERICA,

                       Defendant.


             STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(A)(ii)

       COMES NOW the Plaintiff Joseph Grimando and hereby voluntarily dismisses with

prejudice his cause of action against Defendant United States of America in pursuant to Fed. R.

Civ. P. 41 (a)(1)(A)(ii).

       Pursuant to their agreement, parties shall bear their own attorneys fees and costs.


                                                     By:      /s/ Robert M. Berlin, Attorney at Law
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                                                           /s/ Ruth Keegan, Approved 9-12-2022
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